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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                       CASE NO. 14-22811-CIV-ALTONAGA/O’Sullivan

  WORKOU ZENEBE,

         Plaintiff,
  vs.

  THE TJX COMPANIES, INC.,

        Defendant.
  ____________________________/

                                            ORDER

         THIS CAUSE came before the Court on Magistrate Judge John J. O’Sullivan’s Order

  Approving Settlement Agreement and Recommending that the Case be Dismissed With

  Prejudice (“Order”) [ECF No. 33], entered October 15, 2014. In the Order, Judge O’Sullivan

  advises he has reviewed the terms of the settlement agreement, including the amount to be

  received by counsel, and finds that the compromise reached by the parties is a fair and

  reasonable resolution of the parties’ bona fide disputes, and that the settlement agreement is

  approved. Being fully advised, it is

         ORDERED AND ADJUDGED that the Order [ECF No. 33] is AFFIRMED and

  ADOPTED. This case is DISMISSED with prejudice. The Clerk is directed to mark this case

  as CLOSED, and any pending motions are DENIED as moot. The Court retains jurisdiction

  over this cause and over the parties until December 15, 2014 for the purposes of enforcing the

  settlement agreement.
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          DONE AND ORDERED in Chambers at Miami, Florida this 15th day of October, 2014.




                                                   _________________________________
                                                   CECILIA M. ALTONAGA
                                                   UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




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